       Case 7:20-cv-00082-DC-RCG Document 95 Filed 08/05/22 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                            MIDLAND/ODESSA DIVISION


EQUAL EMPLOYMENT                                §
OPPORTUNITY COMMISSION,                         §
           Plaintiff,                           §
                                                §
AND                                             §
                                                §
JASON COPLEY, DA’VONTA                          §
COPLEY, ALBERTICO GUTIERREZ                     §
RUBIO, ADRIAN QUEZADA, SHAWN                    §
COTTON, and JOSHUA GARCIA,                      §
               Intervenor-Plaintiffs,           §                    MO:20-CV-00082-DC
                                                §
v.                                              §
                                                §
PLAINS PIPELINE, L.P., PLAINS ALL               §
AMERICAN GP, LLC, PLAINS                        §
MARKETING, L.P., and                            §
COPPERHEAD PIPELINE AND                         §
CONSTRUCTION, INC.,                             §
             Defendants.                        §

                                     FINAL JUDGMENT

       BEFORE THE COURT is the Joint Motion for Entry of Consent Decree. (Doc. 93). After

reviewing the Consent Decree, the Court finds that all issues in the Plaintiff Equal Employment

Opportunity Commission’s (“EEOC”) Complaint have been disposed of, that the EEOC and

Defendants Plains Pipeline, L.P., Plains All American GP LLC, Plains Marketing, L.P.

(collectively “Plains”) and Copperhead Pipeline and Construction Inc., (“Copperhead”) are in

agreement, and that the Consent Decree should be entered. Entry of the Consent Decree includes

the claims made by Intervenor-Plaintiffs Jason Copley, Da’Vonta Copley, Albertico Gutierrez

Rubio, Adrian Quezada, Shawn Cotton, and Joshua Garcia (“Intervenors”).

       It is therefore ordered that the Consent Decree is hereby entered. The Court shall retain

jurisdiction to enforce the terms and conditions as set forth in the Consent Decree, which is

attached to the Parties’ Joint Motion for Entry of Consent Decree.
Case 7:20-cv-00082-DC-RCG Document 95 Filed 08/05/22 Page 2 of 2




The Court ORDERS that the Clerk of the Court CLOSE this case.

It is so ORDERED.

SIGNED this 5th day of August, 2022.




                                  DAVID COUNTS
                                  UNITED STATES DISTRICT JUDGE




                                       2
